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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



   RONALD KOONS; NICHOLAS
   GAUDIO; EFFREY M. MULLER;                   Civil Action No: 1:22-cv-7464
   SECOND AMENDMENT                            RMB/EAP (CONSOLIDATED)
   FOUNDATION; FIREARMS POLICY
   COALITION, INC.; COALITION OF               Hon. Renee Marie Bumb, U.S.D.J.
   NEW JERSEY FIREARM OWNERS; and              Hon. Elizabeth A. Pascal, U.S.M.J.
   NEW JERSEY SECOND AMENDMENT
   SOCIETY,

            Plaintiffs,
                                               ORDER
   v.

   WILLIAM REYNOLDS in his official
   capacity as the Prosecutor of Atlantic
   County, New Jersey; GRACE C.
   MACAULAY in her official capacity as the
   Prosecutor of Camden County, New
   Jersey; ANNEMARIE TAGGART in her
   official capacity as the Prosecutor of
   Sussex County, New Jersey; MATTHEW
   J. PLATKIN, in his official capacity as
   Attorney General of the State of
    New Jersey; and PATRICK CALLAHAN,
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   in his official capacity as Superintendent of
   the New Jersey State Police,

              Defendants.

   and

   NICHOLAS P. SCUTARI, President of the
   New Jersey Senate, and CRAIG J.
   COUGHLIN, Speaker of the New Jersey
   General Assembly,

                  Intervenors-Applicants




         THIS MATTER being opened on short notice to the Court by Cullen and Dykman LLP,

  and Kologi ◆ Simitz, attorneys for Intervenors-Applicants Nicholas P. Scutari and Craig J.

  Coughlin by way of a Motion to Intervene pursuant to Fed. R. Civ. P. 24(b); and the Court

  having considered the moving papers submitted and having heard the arguments of counsel and

  for good cause shown,

         IT IS on this _____ day of___________________, 2023, ORDERED as follows:

         1.      Intervention-Applicants’ Motion to Intervene is hereby granted;

         2.      Intervention-Applicants shall file an Answer on or before ____________, 2023;

         3.      Intervention-Applicants shall file opposition papers to Plaintiffs’ motion for a

  Preliminary Injunction on or before _____________, 2023;

         4.      A copy of this Order shall be served on all counsel and parties within seven (7)

  days of the entry of this Order.


                                                      ________________________________
                                                      Hon. Renee Marie Bumb, U.S.D.J.
